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                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                              No. 10-398V
                                          (Not to be published)

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                            *
SHEA KYLIE SULLIVAN,        *
                            *                                             Filed: June 26, 2015
                Petitioner, *
                            *                                             Decision by Stipulation; Attorney’s
           v.               *                                             Fees & Costs
                            *
SECRETARY OF HEALTH AND     *
HUMAN SERVICES,             *
                            *
                Respondent. *
                            *
*****************************

Sarah Reimers McIntee, Washington, DC, for Petitioner

Alexis Babcock, Washington, DC, for Respondent

                            ATTORNEY’S FEES AND COSTS DECISION1

       On June 28, 2010, Shea Kylie Sullivan filed a petition seeking compensation under the
National Vaccine Injury Compensation Program. An entitlement hearing was held in this matter
on July 10, 2014. I issued a decision denying entitlement on February 13, 2015.

        On June 26, 2015, counsel for both parties filed a joint stipulation, in regards to attorney’s
fees and costs. The parties have stipulated that Petitioner’s former counsel, LeClairRyan, should
receive a lump sum of $50,500.00, and Petitioner’s current counsel, Nelson Mullins, should
receive a lump sum of $25,000.00 in the form of checks payable to Petitioner and Petitioner’s
respective counsel. This amount represents a sum to which Respondent does not object. In

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   Because this decision contains a reasoned explanation for my action in this case, I will post this decision on the
United States Court of Federal Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-
347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by 42 U.S.C. §
300aa-12(d)(4)(B), however, the parties may object to the posted decision’s inclusion of certain kinds of confidential
information. Specifically, under Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is privileged
or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole decision will be available to the public.
(Id.)
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addition, and in compliance with General Order No. 9, Petitioner has represented that she did incur
any reimbursable costs in proceeding on this petition.

       I approve the requested amount for attorney’s fees and costs as reasonable. Accordingly,
an award should be made in the form of a check:

                 in the amount of $50,500.00 payable jointly to Petitioner and Petitioner’s former
                  counsel, LeClairRyan; and

                 in the amount of $25,000.00 payable jointly to Petitioner and Petitioner’s current
                  counsel, Nelson Mullins.

In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the court
SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation.2


         IT IS SO ORDERED.
                                                                     /s/ Brian H. Corcoran
                                                                        Brian H. Corcoran
                                                                        Special Master




2
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice renouncing their
right to seek review.
